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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

   PEERLESS INDUSTRIES, INC.,                 )
                                              )
               Plaintiff,                     )              Case No: 11 CV 1768
                                              )
               vs.                            )              Judge Joan H. Lefkow
                                              )
         CRIMSON AV, LLC,                     )
                                              )
               Defendant.                     )

                                             ORDER

Jury deliberations held and concluded. Jury returns a verdict in favor of Crimson AV, LLC on
plaintiff Peerless Industries, Inc’s claim of misappropriation of trade secrets and its claim for
damages based on infringement of U.S. Patent No. 7,823,850. Jury trial ends. Judgment is
entered on the verdict. Costs are allowed to Crimson AV, LLC. Peerless Industries, Inc. shall
take nothing on its claims. Civil case terminated.



(0:15)




Date: June 24, 2016                           ________________________________________
                                                   U.S. District Judge Joan H. Lefkow
